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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                 NORTHERN DIVISION

 In the Matter of the Petition

                of

 GRACE OCEAN PRIVATE LIMITED, as
 Owner of the M/V DALI,
                                                 Case No.: 1:24-CV-00941 JKB
                and
                                                 IN ADMIRALTY
 SYNERGY MARINE PTE LTD, as Manager
 of the M/V DALI,

 for Exoneration from or Limitation of
 Liability.

                CLAIM BY LIBERTY MUTUAL INSURANCE COMPANY
                 PURSUANT TO SUPPLEMENTAL FEDERAL RULE F(5)
                   IN RELATION TO THE KEY BRIDGE ALLISION

       Claimant LIBERTY MUTUAL INSURANCE COMPANY, by its attorneys, James D.

Skeen, Terry L. Goddard Jr., and Skeen & Kauffman, L.L.P., as and for its claim pursuant to Rule

F(5) of the Supplemental Rules for Admiralty or Maritime Claims against Petitioners, GRACE

OCEAN PRIVATE LIMITED and SYNERGY MARINE PTE LTD, as alleged owner and

manager of the vessel M/V DALI herein (referred to herein as the “DALI” or “vessel”), alleges

the following upon information and belief:

       1.      These are admiralty and maritime claims within the meaning of Rule 9(h) of the

Federal Rules of Civil Procedure.

       2.      At and during all times hereinafter mentioned, Claimant had and now has the legal

status and principal office and place of business stated in Schedule A hereto annexed and by this

reference made a part hereof. Claimant is the insurer of certain cargoes lately laden aboard the

M/V DALI, which may have been partially or totally damaged and/or who has been called upon
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by Petitioners or vessel interests to guarantee salvage claims and/or General Average expenses

which may be assessed if said cargoes have not been totally destroyed.

        3.      At and during all the times hereinafter mentioned, Petitioner, GRACE OCEAN

PRIVATE LIMITED, was and now is a foreign corporation duly organized and existing under the

laws of Singapore with its registered office in Singapore, and was engaged in business as a

common carrier of merchandise by water for hire, and owned, operated, managed, chartered,

maintained, repaired or controlled the M/V DALI, a containership that operates in regularly

scheduled liner service between ports of the United States and Asia.

        4.      At and during all the times hereinafter mentioned, Petitioner, SYNERGY MARINE

PTE LTD, was and now is a foreign corporation duly organized and existing under the laws of

Singapore with its registered office in Singapore, and was engaged in business as a common carrier

of merchandise by water for hire, and owned, operated, managed, chartered, maintained, repaired

or controlled the M/V DALI, a containership that operates in regularly scheduled liner service

between ports of the United States and Asia.

                                      GENERAL AVERAGE
                                      INDEMNITY AND/OR
                                        CONTRIBUTION

        5.      Claimant repeats, reiterates and re-alleges each and every allegation set forth in

paragraphs “1” through “4” hereof with the same force and effect as though the same were set

forth herein in full and at length.

        6.      On or about the dates and at the ports of shipment stated in Schedule A, there was

delivered to the M/V DALI and Petitioners in good order and condition the shipments described

in Schedule A, which the said vessel and Petitioners received, accepted and agreed to transport for

certain consideration to the respective destinations stated in Schedule A.



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       7.      Since then, the cargoes have been delivered, but Claimant has been called upon by

Petitioners to guarantee alleged General Average expenses and/or certain salvage claims.

       8.      Petitioners, by reason of the premises, and the unseaworthiness of the M/V DALI,

breached its duties to the Claimant as common carrier by water for hire and/or otherwise and was

otherwise at fault for the allision of the M/V DALI with the Francis Scott Key Bridge (“Key

Bridge”).

       9.      As a result of the allision of the M/V DALI with the Key Bridge, all of the above

cargo taken off or discharged from the vessel and having value became subject to alleged liens of

salvors and/or as a condition precedent to obtaining the release of the cargo formerly laden on

board the M/V DALI, cargo Claimant was required to give security as a condition precedent to the

release of the above cargo and/or to the salvors of same for amounts allegedly due for salvage

services, Petitioners required cargo Claimant to give general average security for contributions to

or for charges allegedly due from cargo in connection with the above voyage.

       10.     Claimant was the insurer or otherwise had a proprietary interest in the cargoes as

described in Schedule A, and brings this action on their own behalf and, as agents and trustees, on

behalf of and for the interest of all parties who may be or become interested in the said shipments

as their respective interests may ultimately appear, and Claimant is entitled to maintain this action.

       11.     Claimant has duly performed all duties and obligations on their part to be

performed.

       12.      By reason of the premises, Claimant is entitled to indemnification and/or

contribution from the Petitioners for any and all salvage and/or General Average charges or

contributions and/or to be fully relieved from any and all alleged salvage and/or General Average

contribution or obligation.



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       WHEREFORE, Claimant demands judgment against Petitioners:

               1.      In the amount of the claim of Claimant, as they may subsequently be proven,

together with interest thereon and the costs and disbursements of this action;

               2.      Denying the petition of Petitioners for exoneration from or limitation of

liability and that the claim of Claimant be allowed in full against Petitioners;

               3.      For indemnity or contribution for any and all salvage, general average

and/or other special charges which Claimant is or may become liable for, together with interest

thereon and costs and disbursements, and

               4.      Granting such other and further relief as the Court deems just and proper.

       Respectfully submitted this 23rd day of September, 2024.


                                                      /s/ James D. Skeen
                                                      James D. Skeen (00010)
                                                      Terry L. Goddard Jr. (15460)
                                                      Skeen & Kauffman, LLP
                                                      9256 Bendix Road, Suite 102
                                                      Columbia, MD 21045
                                                      T: (410) 625-2252
                                                      F: (410) 625-2292
                                                      jskeen@skaufflaw.com
                                                      tgoddard@skaufflaw.com

                                                      Attorneys for Liberty Mutual Insurance
                                                      Company

                                       Certificate of Service

         I hereby certify that on the 23rd day of September, 2024, I uploaded the foregoing and any
attachments/exhibits to the Court’s CM/ECF system for filing and service on all interested
parties.

                                                      /s/ Terry L. Goddard Jr.
                                                      Terry L. Goddard Jr.




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